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                     Exhibit 1
           Employment Agreement between
    Plaintiff and MCIM dated December 21, 2016
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                 DATED: December 21         , 2016




             Markel CATCo Investment Management Ltd.

                               and

                         Alissa Fredricks




                   EMPLOYMENT AGREEMENT
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THIS AGREEMENT is made this 21          day of December, 2016

BETWEEN:

(1)    Markel CATCo Investment Management Ltd. (the "Company");

and

(2)    Alissa Fredricks (the "Employee")

IT IS AGREED as follows:

1.     Certain Definitions

1.1     In this Agreement, including the Schedules, the following words and expressions
        shall, unless the context otherwise requires, have the following meanings:

         Word or Expression                  Meaning

         "affiliate"                         with respect to a given entity (including the
                                             Company), any other entity that owns or
                                             controls, is owned or controlled by, or is
                                             under common ownership or control with,
                                             such entity;

         "Board"                             the board of directors of the Company;

         "Effective Date"                     a date, after the Employee relocates her
                                              principal residence and moves to
                                              Bermuda, upon which the Employee
                                              commences her employment with the
                                              Company in Bermuda pursuant to this
                                              Agreement (which, for avoidance of doubt,
                                              will be after the "Commencement Date"
                                              specified in Schedule 1), which date shall
                                              be mutually agreed in writing by the
                                              Company and the Employee, subject to
                                              Work Permit Approvals;
          "Insurance"                         insurance and reinsurance business;

          "Business Rules"                    any laws, regulations, requirements, codes
                                              of conduct, standards of best practice or
                                              any other rules published by the Bermuda
                                              Monetary Authority or any other regulatory


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                                            authority having jurisdiction over the
                                            Company or the Employee, which may
                                            exist or relate from time to time in respect
                                            of the sale or placement of, or dealing or
                                            handling with, any Insurance, or any
                                            amendment, extension or variation of any
                                            Insurances, or the handling of monies or
                                            policy/product documents in relation to any
                                            Insurances,       or    any     undertakings,
                                            commitments,            obligations        or
                                            responsibilities     to   any     Regulatory
                                            Organisation;
        "Purchase Agreement"                that certain agreement relating to the sale
                                            and purchase of the assets and business
                                            of CATCo Investment Management Ltd.
                                            and CATCo-Re Ltd., dated as of
                                            September 9, 2015, by and among the
                                            Company, Markel Corporation, CATCo
                                            Investment     Management      Ltd.,    and
                                            CATCo-Re Ltd;
        "Regulatory Organisation"            the Ministry of Finance, the Bermuda
                                             Monetary Authority and any subdivision
                                             thereof, and any other regulatory authority
                                             having jurisdiction over the Company or
                                             the Employee;
         "Work Permit Approvals"             means any type of work permit issued to
                                             the Company in respect of the Employee
                                             by    the    Bermuda      Department    of
                                             Immigration, whether it is a standard work
                                             permit, a short term work permit or a
                                             global work permit.



2.      Appointment and Term

2.1     The Company appoints the Employee, and the Employee accepts appointment
        with the Company, to that position and title detailed in Schedule 1.
2.2     The Employee shall during the Employee's employment under this Agreement
        serve the Company in the position given in Schedule 1 (the "Position").

2.3     The employment of the Employee under this Agreement shall be terminable by
        written notice given by the Employee to the Company, or by or on behalf of the
        Company to the Employee, or upon such other circumstances as are described
        in this Agreement. The notice period (where applicable) to be given by one party



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        to the other shall be as stated in Section 10.3 below.           The Term of the
        Employee's employment shall be as stated in Schedule 1.
3.      Principal duties of the Employee

3.1     While employed under this Agreement, the Employee will:
        (a)    undertake and faithfully and diligently perform all such duties, and
               exercise such powers and functions, as may be assigned to or vested in
               the Employee from time to time by the Chief Executive Officer (the
               "CEO"), the Chief Operating Officer (the "COO"), or the Board;
        (b)    use the Employee's reasonable endeavours to achieve such targets,
               benchmarks and goals as are set by the CEO, the COO, or the Board for
               the promotion and growth of the Company;
         (c)   at all times conform to the reasonable and lawful directions of the CEO,
               the COO, or the Board;
         (d)   devote the whole of the Employee's working time, attention and skills to
               the development of the Employee's business within the Company and
               affairs of the Company (as required by the CEO, the COO, or the Board);
               and
         (e)   act at all times in the best interests, and promote and protect the interests,
               of the Company.
3.2      During the Term, the Employee shall:
         (a)   remain properly appraised with all Business Rules connected with the
               performance of the Employee's obligations to the Company (as the case
               may be) under this Agreement, and for the conduct of business with and
               on behalf of clients or prospective clients of the Company and investors in
               the investment funds of the Company on behalf of whom the Employee is
               to act;
         (b)   comply in all material respects with all Business Rules, and whether such
               matters are binding on the Employee personally or the Company;
         (c)   promptly declare in writing, so far as the Employee is aware of the same,
               the nature of any personal interest, whether direct or indirect, in any
               contract or proposed contract entered into by the Company; and
         (d)    conduct the Employee and the Employee's activities on behalf of the
                Company in compliance with all proper standards of corporate governance
                and all applicable policies and codes of the Company and its affiliates.
 3.3     The Employee shall immediately give to the Company full written details of all
         communications and correspondence the Employee may have with any
         Regulatory Organisation whether in relation to this appointment, or any previous
         appointment, subject to Section 14 below.




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3.4     The Employee acknowledges the right of the Company whether during the Term
        or at any time after it has terminated to notify and otherwise deal with any
        appropriate Regulatory Organisation in connection with any conduct of the
        Employee which does not (or is alleged not to) comply with any Business Rules,
        or the spirit of such Business Rules.

3.5     Subject in each case to Section 14 below, if the Employee becomes aware of
        any circumstances which may or are likely to lead to a complaint or claim being
        made against the Company, or which may require notification to a Regulatory
        Organisation, whether for negligence, breach of duty or otherwise, then the
        Employee should immediately notify the Company in writing pursuant to Section
        12 below. In respect of such complaint or claim, the Employee shall:
        (a)    not admit or acknowledge any liability or responsibility;
        (b)    provide such details and reports as the Company may require; and
        (c)    co-operate in full with all reasonable and proper requests and instructions
               of the Company, professional indemnity insurers of the Company, or the
               relevant Regulatory Organisation.
3.6     Without limiting the full observance by the Employee of the Business Rules, the
        Employee undertakes that in the conduct of any Insurance business, the
        Employee will give a true, complete and accurate description of the risks involved
        to the relevant investor in the investment funds offered by the Company, and that
        in relation to any investor, the Employee will act in such investor's best interests
        at all times.

4.       Restriction on other activities by the Employee

         The Employee agrees that during the Term, the Employee will not (except with
         the prior written sanction of the CEO, the COO, or the Board):
         (a)   be actively engaged in the conduct of any other commercial business;
         (b)   be directly or indirectly concerned or interested in any business which is in
               competition with or in opposition to any business for the time being carried
               on by the Company; or
         (c)   hold the stock of any client of the Company or of any of its affiliates.

 5.      Place of work

         The Employee shall be based at the offices as stated in accordance with
         Schedule 1, but shall undertake such travel as may be required for the proper
         discharge of the Employee's duties.
 6.      Remuneration and expenses

 6.1     During the Term, the Employee shall be paid by the Company a salary at the
         gross annual rate specified in Schedule 1, which shall be payable by monthly
         instalments in arrears in accordance with the Company's regular payroll policy,


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        and which shall be deemed to accrue from day to day. In addition, the Employee
        shall be eligible for Incentive Compensation set out in Schedule 2. The salary
        payable under this clause 6.1 and the remuneration arrangements of the
        Employee shall be reviewed by the Company annually. While a review does not
        imply any entitlement to an increase, the rate of salary payable to the Employee
        may be increased as a result of such review with effect from any date specified
        by the Company.
6.2     In addition, there shall be refunded to the Employee all necessary and
        reasonable out-of-pocket expenses properly incurred by the Employee on the
        business of the Company and in accordance with the Company's business
        expense reimbursement policies.
6.3     All amounts in this Agreement (including the Schedules) that are designated in
        U.S. dollars ($) shall be payable in the applicable local currency in which the
        Employee will be paid, in each case determined based on the applicable
        exchange rate in effect on the Effective Date.
7.      Employee Benefits and Holiday

7.1     During the Term, the Employee shall be eligible to participate in such employee
        benefit plans (including with respect to holiday, holiday accrual and sick leave),
        and to receive such other fringe benefits, as the Company may in its discretion
        make available to its Bermuda employees generally, subject to all present and
        future terms and conditions of such benefit plans and other fringe benefits (in
        each case as in effect, amended or terminated from time to time in the
        Company's discretion for similarly situated employees generally).
7.2      The Employee shall have the option each calendar year during the Term to take
         up to five (5) days of additional unpaid time off provided that the Employee
         consents in writing to the understanding that the Employee shall not be paid for
         such additional days off (e.g., shall not receive the Employee's regular base
         salary for those days); provided further, however, that in no event shall the
         aggregate amount of paid and unpaid time off taken by an Employee in any
         calendar year exceed the maximum time off allowable for any employee under
         the Company's Paid Time Off policy as in effect or amended from time to time.
8.       Confidentiality

 8.1     The Employee acknowledges that all notes, lists, memoranda, records, slips and
         other writings (in whatever form and whether held in hard copy or any electric
         medium) made by or at the behest of, or in the possession or custody of, the
         Employee relating to the business of the Company, shall be and remain the
         property of the Company, and shall be handed over by the Employee to the
         Company from time to time on demand and in any event upon the termination of
         the Employee's employment.
 8.2     The Employee agrees and covenants with the Company, as follows, subject in
         each case to Section 14 below:



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        (a)   The Employee will not at any time whether during or after the termination
              of the Employee's employment by the Company, reproduce, use,
              communicate or attempt to do so to any person whatsoever any
              Confidential Information (as defined in Schedule 4 below), nor through any
              failure to exercise all due care and diligence cause any unauthorised
              disclosure of any such Confidential Information except where the same
              shall already be in the public domain other than by unauthorised
              disclosure by the Employee;
        (b)   The Employee will at all times during the Employee's employment use all
              reasonable endeavours to prevent unauthorised publication or disclosure
              of any Confidential Information as referred to in sub-paragraph (a);
        (c)   The Employee will not at any time during the Employee's employment
              make, other than for the benefit of the Company, any lists, notes or
              memoranda relating to any matter within the scope of and directly or
              indirectly concerning the business, dealings or affairs of the Company;
        (d)   The Employee will not use during or after termination of the Employee's
              employment any Confidential Information for any purpose whatever,
              including without limitation for the Employee's own benefit, for that of any
              other party or in any way to the detriment of the Company.
9.      Intellectual Property and Restrictive Covenants

9.1     The Employee hereby acknowledges that, by virtue of the Employee's unique
        relationship with the Company pursuant to this Agreement, the Employee will
        acquire and have access to Confidential Information and will also develop a
        unique and comprehensive familiarity with the Company and its Business (as
        defined below) and affiliates, which the Employee would not have otherwise had
        but for the Employee's employment with the Company, and which the Employee
        acknowledges are valuable assets of the Company and its affiliates. The
        Employee further acknowledges and agrees that the covenants in Section 8 and
        this Section 9 also are reasonably necessary and appropriate to protect the value
        of the Company's and its affiliates' goodwill and other assets, including without
        limitation the goodwill and other assets acquired by the Company pursuant to the
         transactions contemplated by the Purchase Agreement.           Accordingly, the
         Employee agrees to undertake the obligations in this Section 9 (in addition to
         those in Section 8 above), which the Employee acknowledges are reasonably
         designed to protect the legitimate business interests of the Company and its
         affiliates, without unreasonably restricting the Employee's post-employment
         opportunities.

9.2      By the Employee's execution of this Agreement, the Employee hereby agrees to
         abide by the Intellectual Property Agreement attached as Schedule 5 hereto and
         hereby made a part of this Agreement.

 9.3     Except as expressly authorized by the Company in furtherance of the
         Employee's employment duties, the Employee shall not, at any time during the


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 Employee's employment and for twenty-four (24) months after the termination
 thereof by either party for any or no reason, directly or indirectly (whether as a
 sole proprietor, owner (whether of equity, debt or other interests), employer,
 partner, investor, shareholder, member, employee, consultant or otherwise):

 (a)    Engage in or assist any other person or entity in engaging in a business
        which provides investors with the opportunity to participate in the returns
        from investments linked to elemental and non-elemental catastrophe and
        non-cat reinsurance or retrocessional risks anywhere in the world by
        investing in fully collateralised reinsurance agreements, treaties or
        retrocessional agreements and any other types of contracts as carried on
        by the Company or any of its subsidiaries at the date of this Agreement or
        at the time of any termination of the Employee's employment for any or no
        reason (the "Business"), perform services involving the Business in any
        executive, managerial, sales, marketing, research or other competitive
        capacity for any person or entity engaged in the Business, or provide
        material financial assistance involving the Business to any person or entity
         engaged in the Business; or
  (b)   perform services or provide products relating to and competitive with the
        Business for or to, or accept or facilitate the acceptance of orders or
        instructions relating to and competitive with the Business from, any Ceding
        Insurer Client or Investor or Prospective Ceding Insurer Client or Investor
        (as defined below); or
  (c)   solicit any Ceding Insurer Client or Investor or Prospective Ceding Insurer
        Client or Investor for the purpose of performing or providing or facilitating
        the performance or provision of any services or products, or accepting or
        facilitating the acceptance of orders or instructions, relating to and
        competitive with the Business; or
  (d)   induce, solicit, or attempt to persuade any employee, consultant or other
        agent of the Company or any of its affiliates engaged in the Business (i)
        who worked in any executive, managerial, sales, marketing, research or
        other competitive capacity (and not including a purely ministerial, facilities
        maintenance or other similar role not involving use of or access to
        Confidential Information), (ii) who used or had access to Confidential
        Information, or (iii) with whom the Employee had material dealings, in
         each case at any time during the twelve (12) month period prior to the
         Employee's termination of employment, to terminate his, her or its
         employment, consultancy or other relationship or association with the
         Company or any such affiliate in order to enter into any employment or
         consulting relationship with or perform services for any other person or
         entity anywhere in the Territory; or
  (e)    induce, solicit, or attempt to persuade any supplier, vendor or other person
         or entity with which the Company or any of its affiliates engaged in the
         Business has a business relationship to terminate, restrict or otherwise
         modify its business relationship with the Company or its affiliates.


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9.4     Notwithstanding the foregoing, nothing in this Section 9 shall prohibit the
        Employee from owning not in excess of two percent (2%) in the aggregate of any
        class of capital stock or other ownership interests of any company if such stock
        or other ownership interests are publicly traded and listed on any national or
        regional stock exchange.

9.5     As used in this Section 9:

        (a)    "Ceding Insurer Client or Investor" means any ceding insurer client of the
               Company or any of its affiliates, any investor in any collective investment
               scheme then managed or operated by the Company or any of its affiliates,
               or any person or entity whose investment portfolio or assets are or were
               managed by the Company or any of its affiliates, in each case with respect
               to whom, at any time during the twenty-four (24) month period preceding
               the termination of the Employee's employment, the Employee: (i) had
               material business dealings, or (ii) acquired or had access to Confidential
               Information, in each case in the course of the Employee's employment
               with the Company or any of its affiliates.
        (b)    "Prospective Ceding Insurer Client or Investor" means any person or entity
               other than a Ceding Insurer Client or Investor with respect to which, at any
               time during the twelve (12) month period preceding the termination of the
               Employee's employment, the Employee: (i) submitted or assisted in the
               submission of a presentation or proposal of any kind in respect of the
               management of its insurance or reinsurance exposures or its investment
               portfolio or assets, as applicable, or (ii) had substantial contact or acquired
               or had access to Confidential Information, in each case as a result of or in
               connection with the Employee's employment with the Company or any of
               its affiliates.
9.6     The parties agree that in the event any of the prohibitions or restrictions set forth
        in Section 8 or this Section 9 (including without limitation in Schedule 5) are
        found by a court of competent jurisdiction to be unreasonable or otherwise
        unenforceable, it is the purpose and intent of the parties that any such
        prohibitions or restrictions be deemed modified or limited so that, as modified or
        limited, such prohibitions or restrictions may be enforced to the fullest extent
        possible.

 9.7     The Employee acknowledges and agrees that a breach of any provision of this
         Section 9 (including without limitation any provision of Schedule 5) will result in
         immediate and irreparable harm to the Company and its affiliates for which full
         damages cannot readily be calculated and for which damages are an inadequate
         remedy. Accordingly, the Employee agrees that the Company and its affiliates
         shall be entitled to injunctive relief to prevent any such actual or threatened
         breach or any continuing breach by the Employee (without posting a bond or
          other security), without limiting any other remedies that may be available to them.
          The Employee further agrees to reimburse the Company and its affiliates for all
          costs and expenditures, including but not limited to reasonable attorneys' fees


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        and court costs, incurred by any of them in connection with the successful
        enforcement of any of their rights under Section 8 or this Section 9 (including
        without limitation Schedule 5).

9.8     The parties agree that the periods referred to in Section 9.3 above will be
        reduced by one (1) day for every day, during which, at the Company's direction,
        the Employee has been excluded from the Company's premises and has not
        carried out any duties as garden leave pursuant to Section 10.5 below.

10.     Termination

10.1    The Company may terminate the employment of the Employee under this
        Agreement immediately (hereafter for "Cause") by summary notice given by the
        Company if the Employee shall have:
        (a)    been convicted of any criminal offence, other than an offence under the
               Road Traffic Act 1947 not involving a sentence of imprisonment; or
        (b)    been guilty of material misconduct or material default in the course of the
               Employee's employment, or if the Employee committed any serious
               breach, or (after written warning) any repeated or continued breach of any
               of the Employee's duties and obligations as an employee; or
        (c)    been censured or fined by any Regulatory Organisation that will, or are
               likely to, restrict the Employee's ability to conduct insurance and
               reinsurance business for the Company.
10.2    For the avoidance of doubt, in case of summary termination under Sections
        10.1(a) through (c) above, the Employee shall not be entitled to the Employee's
        notice entitlement (as set forth in Section 10.3 below) or payment in lieu (as set
        forth in Section 10.4 below).
10.3    Except as provided in Section 10.1 above, the Employee's employment under
        this Agreement shall be terminable at any time during the Term by three (3)
        months' written notice given by the Employee to the Company, or by or on behalf
        of the Company to the Employee.
10.4     The Company reserves the option to terminate the Employee's employment
         under Section 10.3 above immediately upon written notice by paying the
         Employee an amount equal to the Employee's prorated base annual salary in lieu
         of any ungiven part of the Employee's notice entitlement, whichever party may
         have given such notice. The Employee will not, under any circumstances, have
         any right to payment under this Section 10.3 or otherwise in lieu of notice unless
         the Company has expressly exercised its option to pay in lieu of written notice to
         the Employee.
 10.5    In the event that either party gives notice of early termination pursuant to
         Section 10.3, the Company reserves the right to place the Employee on garden
         leave by requiring the Employee not to attend work and/or not to undertake all
         or any of the Employee's duties hereunder, provided always that the
         Company shall continue to pay the Employee's salary and contractual benefits


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       for such period. This clause shall not affect the general right of the Company to
       suspend the Employee during any period in which the Company is
       carrying out a disciplinary investigation into any alleged acts or defaults of the
       Employee.
11.     Consequences of termination

        Upon termination of the Employee's employment howsoever arising, the
        Employee will:
        (a)   Without prejudice to any rights the Employee may have to claim
              compensation or damages for loss of office, resign any directorship of the
              Company or any of its affiliates which the Employee holds, and should the
              Employee fail to do so the Board is irrevocably authorised to appoint
              another director to act as the Employee's attorney in the Employee's
              name and on the Employee's behalf and to sign any documents or do any
              acts or things necessary or requisite to effect such resignations; and
        (b)   deliver to the Company any property of the Company or its affiliates which
              may be in the Employee's possession or under the Employee's control,
              including but not limited to minutes, memoranda, correspondence, slips,
              lists, notes, records, or other documents and any copies thereto (in
              whatever form held and whether or not held on computer disk) relating to
              the business, property, customers or other affairs of the Company or any
              of their clients or investors in the investment funds of the Company, and
              further including without limitation all Confidential Information.
        (c)   The Employee's eligibility for certain Incentive Compensation (or a portion
              thereof), if any, in connection with a termination of the Employee's
              employment is governed by and subject to the terms and conditions set
              forth in Schedule 2.
        (d)   Any termination of the Employee's employment due to the expiration of
              the Term shall not entitle the Employee to any amounts or benefits, except
              as otherwise expressly provided in Schedule 2.
12.     Notices

        Any notice, request or other communication required or permitted to be given
        hereunder shall be made to the following addresses or to any other address
        designated by either of the parties hereto by notice similarly given: (a) if to the
        Company, to Markel Corporation, 4521 Highwoods Parkway, Glen Allen, VA
        23060, United States of America, Attention: Richard R. Whitt III, email:
        rwhitt@markelcorp.com, fax: (804) 527-3810, with a copy to Markel Corporation,
        4521 Highwoods Parkway, Glen Allen, VA 23060, United States of America,
        Attention: Richard R. Grinnan, email: rgrinnan@MarkelCorp.com, fax: (804) 527-
        3810; and (b) if to the Employee, to the Employee's address listed on Schedule
        1. All such notices, requests or other communications shall be sufficient if made
        in writing either (i) by personal delivery to the party entitled thereto, (ii) by
        facsimile with confirmation of receipt or by email, (iii) by certified mail, return


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        receipt requested, or (iv) by express courier service, and shall be effective upon
        personal delivery, upon confirmation of receipt of facsimile transmission, upon
        email transmission, upon the fourth calendar day after mailing by certified mail, or
        upon the second calendar day after sending by express courier service.

13.     Continuing obligations
        The expiration or termination of this Agreement howsoever arising shall not
        operate to affect such of the provisions of this Agreement as are expressed to
        operate or have effect thereafter, including without limitation Sections 8 and 9
        and Schedules 3 through 5.

14.     No Interference
        Notwithstanding any other provision of this Agreement, nothing in this Agreement
        shall prohibit the Employee from confidentially or otherwise (without informing the
        Company or its affiliates) reporting possible violations of law or regulation to any
        Regulatory Organisation or other governmental entity, participating in a
        Regulatory Organisation or other governmental investigation, or giving truthful
        testimony or disclosures to a Regulatory Organisation or other governmental
        entity, or if properly subpoenaed or otherwise required to do so under applicable
        law or regulation.

15.     General
15.1    As of the Effective Date, this Agreement, including any Schedules referred to in
        it, sets out the whole agreement between the parties relating to the Employee's
        employment and supersedes all prior or contemporaneous negotiations,
        understandings or agreements between the parties, whether written or oral, with
        respect to such subject matter, including without limitation the Employee's offer
        letter from the Company dated as of March 24, 2016 concerning her prior
        employment with the Company in the United States and the supplemental letter
        amendment thereto dated as of December 21, 2016; provided, however, that the
        Employee's Business Protection Agreement with the Company dated as of May
         2, 2016 and her Sign-On Bonus and Reimbursement Agreement with the
         Company dated as of March 23, 2016 shall continue in full force and effect in
         accordance with their respective terms and the Employee shall continue to
         comply with such agreements (for avoidance of doubt, the Employee's relocation
         to Bermuda and commencement of employment under this Agreement shall not
         be considered a termination of her employment with the Company for purposes
         of either such agreement).
 15.2    Whenever possible, each provision of this Agreement will be interpreted in such
         manner as to be effective and valid under applicable law, but if any provision of
         this Agreement is held to be prohibited by or invalid under applicable law (after
         any appropriate modification or limitation pursuant to Section 9.6), such provision
         will be ineffective only to the extent of such prohibition or invalidity, without
         invalidating the remainder of such provision or the remaining provisions of this
         Agreement.


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16.     Law
        This Agreement shall be governed by and construed in accordance with
        Bermuda Law and the parties subject to the exclusive jurisdiction of the Bermuda
        Courts.
17.     Special Variations
        Each of the terms and conditions of this Agreement shall be subject to the
        express special variations contained in Schedule 1, which special variations
        shall, to the extent inconsistent with the other provisions of this Agreement, be of
        overriding effect.
18.     Effective Date
        Notwithstanding any other provision of this Agreement, this Agreement shall be
        effective only upon, and not prior to, the Effective Date, and shall be null and void
        and of no force and effect if the Effective Date does not occur for any reason,
        including without limitation if the Employee does not relocate to Bermuda.




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                                   SCHEDULE 1

                             Details of Employment

Name and Address         :       Alissa Fredricks.
                                 alissa.fredricks@markelcatco.com

Position                 :       Chief Risk Officer.

Commencement Date        :       The commencement date for your employment was
                                 May 2, 2016 (the "Commencement Date").




Term                     :       The term of this Agreement is for a further twelve (12)
                                 month period commencing on the Effective Date (the
                                 "Term"). The Term of this Agreement will
                                 automatically extend for successive additional twelve
                                 (12) month period(s), unless and until terminated
                                 pursuant to the Agreement.

Place of Work            :       US: from the Commencement Date to the Effective
                                 Date.

                                 Bermuda: as of the Effective Date.

Base salary (gross           :   US $175,000.
annualized)

Housing Allowance            :   US $6,000 gross per month allowance payable
                                 monthly in arrears only while the Employee resides in
                                 Bermuda.

Moving Allowance             :   US $10,000 gross (one-time), payable within thirty
                                 (30) days after the Effective Date.

Incentive Compensation       :   As set forth in Schedule 2.
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                                      SCHEDULE 2

                             INCENTIVE COMPENSATION

In connection with the Employee's employment with the Company, the Employee shall
be eligible to receive incentive compensation to be paid by the Company comprised of a
"Continued Service Element" and a "Performance Element" (collectively, "Incentive
Compensation"), subject to the terms and conditions of the Agreement including this
Schedule 2:

Definitions

The following terms shall have the following definitions for purposes of this Schedule 2
and the remainder of the Agreement:

•    "Fee Income" means the aggregate management fee income, net of introducer fees,
     rebates and fee sharing arrangements, but before the deduction of the expenses
     incurred in operating the Company and any funds and insurance companies
     managed by the Company (collectively, the "Company Group") (including all salary
     costs and overheads), received by the Company Group over the entire Performance
     Period (defined below), provided that for purposes of determining Fee Income
     hereunder, the Company shall disregard any fee income attributable to the business
     operations of any entity acquired by the Company during the Performance Period or
     to any other unusual or nonrecurring events occurring during such period. The
      Company's good faith determination of Fee Income shall be final and binding for
      purposes of determining the Employee's eligibility for, and the amount of, any
      Performance Element.

•    "Incapacity" means such physical or mental condition of the Employee which renders
     or is expected to render the Employee incapable of performing the essential
     functions of the Employee's position hereunder with (to the extent required by law) or
     without reasonable accommodation for ninety (90) consecutive calendar days, or for
     one hundred twenty (120) calendar days (whether consecutive or not) within any one
     hundred eighty (180)-calendar-day period (in each case, except as otherwise
     provided by law), as determined in good faith by the Company upon consultation
     with a physician selected by the Company in its discretion. The Employee hereby
     agrees to submit to any reasonable medical examination(s) as may be
     recommended by the Company for the purpose of determining the existence or
      absence of Incapacity.

 •   "Performance Period" means the period that commences on January 1, 2016 and
     ends on (and including) December 31, 2018.

 •    "Retention Period" means the period that commences on the Commencement Date
      and ends on (and including) December 31, 2020.
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Continued Service Element

The Employee shall be eligible to receive a total gross aggregate Continued Service
Element of the Incentive Compensation over the Retention Period in an amount equal to
US $608,625. The Employee acknowledges and agrees that: (a) she already vested
on December 31, 2016 in, and already has been paid in full for, US $58,625 of this total
gross aggregate Continued Service Element (representing a nominal one-year
annualized increment thereof of $87,500 for calendar year 2016, prorated based on the
Employee's U.S. hire date of May 2, 2016) (the "Earned 2016 Payment"), and (b) she
shall earn a portion described below of the remaining currently unearned portion of such
total gross aggregate Continued Service Element as of the following respective dates
(each such date, a "vesting date," and each such payment including the Earned 2016
Payment constituting a "Retention Payment"):

                  Vesting Date                      Retention Payment Earned on Such
                                                               Vesting Date
    •      December 31, 2017                    •       US $100,000
    •      December 31, 2018                    •       US $125,000
    •      December 31, 2019                    •       US $150,000
    •      December 31, 2020                    •       US $175,000


provided in each case that the Employee complies with this Agreement and remains
actively and continuously employed in good standing with the Company as of each such
applicable vesting date (and subject to the remaining provisions below). Any such
earned Retention Payment shall be paid within thirty (30) calendar days after the
applicable vesting date upon which it becomes earned.

Performance Element

The Employee shall be eligible to receive a total gross aggregate target Performance
Element of the Incentive Compensation based on Fee Income received during the
Performance Period, provided that the Employee complies with this Agreement and
remains actively and continuously employed in good standing with the Company
throughout the Performance Period (and subject to the remaining provisions below).

 The Performance Element for which the Employee is eligible shall be calculated as
 follows:

 (i) US $175,000 multiplied by (ii) the quotient of Fee Income divided by $81,000,000.

    (i.e., US $175,000 x (Fee Income/$81,000,000))
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Any Performance Element of the Incentive Compensation that becomes earned and
payable hereunder shall be paid within thirty (30) calendar days after the last day of the
Performance Period.

Termination Provisions

Notwithstanding the foregoing:

(a) in the event the Company terminates the Employee's employment without Cause
    (and not due to Incapacity or death), in each case with an effective termination
    date occurring prior to the last day of the:

       (i) Retention Period, the Employee shall be deemed to have earned any and all
           then-unearned and unpaid Retention Payments as of such effective
           employment termination date, which shall then be paid to the Employee within
           thirty (30) calendar days after such effective employment termination date; and

       (ii) Performance Period, the Employee shall remain eligible to receive the
            Performance Element (to be calculated and determined as provided above) as
            if the Employee's employment had continued in good standing through the end
            of the Performance Period (provided, however, that the Employee continues to
            comply with this Agreement). Any Performance Element of the Incentive
            Compensation that becomes earned and payable hereunder shall be paid
            within thirty (30) calendar days after the last day of the Performance Period.

(b) in the event the Employee's employment terminates due to the Employee's
    Incapacity or death with an effective termination date occurring prior to the last day
    of the:

       (i) Retention Period, the Employee shall be deemed to have earned a pro-rated
           portion of the Continued Service Element of the Incentive Compensation
           calculated as (x) US $608,625 multiplied by (y) a fraction, the numerator of
           which is the number of completed calendar months during which the Employee
           was actively and continuously employed during the Retention Period (for
           avoidance of doubt, and solely for this calculation, as if the Commencement
           Date had been May 1, 2016) and the denominator of which is fifty-six (56),
           reduced by (z) any and all Retention Payments then already paid to the
           Employee. Any such pro-rated portion of the Continued Service Element shall
           be paid to the Employee or in the case of death, to the Employee's personal
           representative within thirty (30) calendar days after such effective employment
           termination date; and

        (ii) Performance Period, the Employee shall not be entitled to, or receive, any
             Performance Element of the Incentive Compensation (or any portion thereof).

 (c)    in the event the Company terminates the Employee's employment for Cause, or
        the Employee resigns for any or no reason, in each case with an effective
        employment termination date prior to the last day of the Retention Period or the
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     Performance Period, as applicable, or in the event the Employee at any time
     breaches any of the Employee's continuing post-employment obligations under the
     Agreement, the Employee shall not be entitled to, or receive, any then-unearned or
     unpaid Retention Payments or any Performance Element of the Incentive
     Compensation (or any portion thereof).

(d) In the event the Term continues beyond the end of the Retention Period, then the
    Employee shall be eligible to participate as of the time (and not before) in the then-
    effective Company incentive plan applicable to similarly situated employees of the
    Company, as in effect or amended from time to time.

(e) Any and all entitlements, whether contractual or otherwise, to payments relating to
    termination, including but not limited to payments in lieu of notice (whether
    pursuant to Section 10.4 or otherwise), or to severance payments (whether
    contractual or statutory), shall be offset against any and all payments made
    pursuant to these Termination Provisions.
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                               SCHEDULE 3

                  Promotion and Protection of Business

  Further Acknowledgements

  The Employee confirms that following termination of this Agreement, and subject
  in each case to Section 14 of the Agreement:


  (i)    the Employee will not except as required by law or Regulatory
         Organisation say or do anything which may damage in any manner the
         repute of the Company, or which may damage any business relationships
         or connections of the Company.

  (ii)   Subject to the Company reimbursing the Employee for any monies lost by
         the Employee by virtue of offering such co-operation, the Employee will
         continue hereafter to co-operate fully and assist the Company (and their
         respective professional indemnity insurers) in respect of any Insurance
         business with which the Employee was involved in whilst acting as an
         employee or representative of the Company.
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                                     SCHEDULE 4

                               "Confidential Information"

       "Confidential Information" as used in this Agreement including any Schedules
thereto means all confidential competitively sensitive and proprietary information or
materials relating or belonging to the Company or any of its affiliates (in whatever form,
whether or not reduced to writing, whether held in hard copy or any electronic medium,
and whether or not acquired by the Company pursuant to the Purchase Agreement or
otherwise acquired or developed), including without limitation all confidential or
proprietary information furnished or disclosed to or otherwise obtained by the Employee
in the course of the Employee's employment with the Company or any of its affiliates,
and further includes without limitation:   computer programs; patented or unpatented
inventions, discoveries and improvements; marketing, organizational, management,
operating and business plans and strategies; research and development; policies and
manuals; sales forecasts; information concerning actual or potential regulatory, legal,
compliance, professional indemnity claims or investigations involving the Company or
any of its affiliates; employee personnel file and medical file information; pricing and
nonpublic financial information; current and prospective ceding insurer client, investor
and agent lists and information on or belonging to ceding insurer clients, investors and
agents or their employees; information concerning planned or pending acquisitions,
investments or divestitures; and information concerning purchases of major equipment
or property. "Confidential Information" does not include information that lawfully is or
becomes generally and publicly known outside of the Company and its affiliates other
than through the Employee's breach of this Agreement or breach by another person or
 entity of some other obligation.
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                                                            SCHEDULE 5

                                           INTELLECTUAL PROPERTY AGREEMENT

As a material part of the consideration for my employment by Markel CATCo Investment Management Ltd. ("Company")
and the salary and other compensation that I, Alissa Fredricks, shall receive during my employment, I acknowledge and
agree that, by my signature on the Employment Agreement ("Employment Agreement") to which this Intellectual Property
Agreement ("Agreement") is attached as Schedule 5, I also agree to this Agreement's terms, which are deemed
incorporated into and a part of the Employment Agreement:

1. (a) Company owns the sole and exclusive right, title and         agent and attorney in fact, to act for and on my behalf and
interest in and to any and all Works (as defined below),            in my stead to execute and file any such applications and
including without limitation any and all source code or other       documents and to do all other lawfully permitted acts to
intellectual property and further including without limitation      further the prosecution and issuance of letters patent or
all copyrights, trademarks, service marks, trade names,             copyright registrations or transfers or assignments thereof
slogans, patents, ideas, designs, concepts and other                or of any other proprietary rights with the same legal force
proprietary rights. Company's right, title and interest in and      and effect as if executed by me. This appointment is
to the Works includes without limitation the sole and               coupled with an interest in and to the inventions, works of
 exclusive right to secure and own copyrights and maintain          authorship, trade secrets and other Works to which any
 renewals throughout the world, and the right to modify and          proprietary rights may apply and shall survive my death or
 create derivative works of or from the Works without any            disability.
 payment of any kind to me. I agree that the Works shall be
                                                                    (c)     As used in this Agreement, "Works" means (i) any
 "work made for hire" as that term is defined in the copyright
 laws of the United States, and not works of joint ownership.       inventions, developments, improvements, trade secrets,
                                                                    ideas or original works of authorship that I conceive, create,
 To the extent that any of the Works is determined not to
                                                                    develop, discover, make, acquire or reduce to practice in
 constitute work made for hire, or if any rights in any of the
                                                                    whole or in part, either solely or jointly with another or
 Works do not accrue to Company as a work made for hire,
                                                                    others, during or pursuant to the course of my employment
 my signature on the Employment Agreement constitutes an
 assignment (without any further consideration) to Company          by Company or any of its affiliates and that relate to
                                                                    Company or any of its affiliates or their respective
 of any and all of my respective copyrights and other rights,
                                                                     businesses, or to Company's or any of its affiliates' actual
 title and interest in and to all Works. I will disclose promptly
                                                                     or demonstrably anticipated research or development, (ii)
  to Company all Works, whether or not they are patentable,
                                                                     any inventions, developments, improvements, trade
  copyrightable or subject to trade secret protection.
                                                                     secrets, ideas or original works of authorship that I
                                                                     conceive, create, develop, discover, make, acquire or
(b) I will provide any assistance reasonably requested by
                                                                     reduce to practice in whole or in part, either solely or jointly
Company to obtain United States and non-United States
                                                                     with another or others, during or pursuant to the course of
letters patent and copyright registrations covering
                                                                     my employment by Company or any of its affiliates and that
inventions, original works of authorship and other Works
                                                                     are made through the use of any of Company's or any of its
belonging or assigned hereunder to Company. I will
                                                                     affiliates' equipment, facilities, supplies, trade secrets or
execute any transfers of ownership of letters patent or
                                                                     time, or that result from any work performed for Company
assignments of copyrights or other proprietary rights
                                                                     or any of its affiliates, and (iii) any part or aspect of any of
transferred or assigned hereunder (including without
                                                                     the foregoing.
limitation short form assignments intended for recording
 with the U.S. Copyright Office, the U.S. Patent and                2. I have been notified by Company, and understand, that
 Trademark Office, or any other person or entity).            I     the foregoing provisions of Section 1 do not apply to an
 understand that my obligations under this Section 1(b) shall       invention for which no equipment, supplies, facilities or
 survive any termination of this Agreement or of my                 trade secret information of Company or any of its affiliates
 employment by Company in perpetuity, provided that                 was used and which was developed entirely on my own
 Company will compensate me at a reasonable rate for time           time, unless: (a) the invention relates (i) to the business of
 actually spent performing such obligations at Company's            Company or any of its affiliates or (ii) to Company's or any
 request after any such termination. If Company is unable           of its affiliates' actual or demonstrably anticipated research
 for any reason whatsoever, including my mental or physical          and development, or (b) the invention results from any work
 incapacity, to secure my signature to apply for or to pursue        performed by me for Company or any of its affiliates. I have
 any application for any United States or non-United States          listed and described on an attached page all inventions of
 letters patent or copyright registrations or on any document        my own to which I claim Section 1 does not apply. If no
 transferring or assigning any patent, copyright or other            such page is attached and signed by me and an authorized
 proprietary right that I am obligated hereunder to transfer or      Company representative, no such inventions exist.
  assign, I hereby irrevocably designate and appoint
  Company and its duly authorized officers and agents as my
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IN WITNESS WHEREOF, the parties hereto have executed this agreement as of the year and
day first above written.


                                     Markel CATCo Investment Management Ltd.




                                     By:




                                     Alissa Fredricks


                                     By:      GUA;i4e/lAfie
